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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


KATHERINE SAUTER,

                     Plaintiff,                     Case No. 0:20-cv-2044-ECT-DTS

         v.

3M COMPANY,

                     Defendant.


                             JOINT STIPULATION OF DISMISSAL

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) Plaintiff, Katherine Sauter,

and Defendant, 3M Company, by and through their respective undersigned counsel, hereby

stipulate and agree that this action shall be dismissed in its entirety and with prejudice. Further,

each party will bear its own costs, expenses and attorneys’ fees.




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 Dated: July 12, 2021                           Dated: July 12, 2021

 By: /s/ Mark R. Bradford                       By: /s/ Nathan P. Lusignan

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                               CERTIFICATE OF SERVICE

         A copy of the foregoing Joint Stipulation of Dismissal has been served, via the

Court’s CM/ECF system, this 12th day of July, 2021, upon:

                  Mark R. Bradford
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                                          /s/ Nathan P. Lusignan
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